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                  EXHIBIT 11
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1                                 UNITED STATES DISTRICT COURT
2                          FOR THE SOUTHERN DISTRICT OF NEW YORK
3
4                   NIKE, INC.,
5                                 Plaintiff,
6                     v.                              No. 1:22-CV-00983-VEC
7                   STOCKX LLC,
8                                 Defendant.
9
10                            VIDEOTAPED DEPOSITION OF RON FARIS
11                             Taken in behalf of the Defendant
12                                          December 7, 2022
13
14                                 *** HIGHLY CONFIDENTIAL ***
15
16
17
18
19
20
21
22
23
24
25

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1                         BE IT REMEMBERED THAT pursuant to Federal

2                   Rules of Civil Procedure, the deposition of RON

3                   FARIS was taken before Julie A. Walter, CSR No.

4                   90-0173 on December 7, 2022, commencing at the hour

5                   of 9:16 a.m., the proceedings being reported in the

6                   law offices of Stoel Rives, 760 SW Ninth Avenue,

7                   Suite 3000, Portland, Oregon.

8                                             *     *        *

9                                           APPEARANCES

10                  DLA PIPER

11                    Ms. Tamar Duvdevani

12                    Mr. Marc Miller

13                    1251 Avenue of the Americas

14                    New York, New York 10020

15                    Counsel for the Plaintiff

16

17                  DEBEVOISE & PLIMPTON LLP

18                    Ms. Megan Bannigan

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25

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                                                                          Page 14

1                   target and actual customers for Nike's NFTs and

2                   Digital Sneakers bearing the Asserted Marks."                 Is

3                   that correct?

4           A.      Correct.

5           Q.      Are you prepared to testify on that topic today?

6           A.      Yes, I am.

7           Q.      Did you do anything other than speak to counsel

8                   yesterday to prepare to testify on behalf of Nike

9                   on that topic?

10          A.      No, I did not.

11          Q.      Okay.   The next one, I believe, is Topic 10.

12                  "Nike's plans to enter the custodial or 'vaulted'

13                  market for physical sneakers, including but not

14                  limited to vaulted physical sneakers associated

15                  with NFTs."     Am I right that you've -- you are

16                  prepared -- you are here to testify on behalf of

17                  Nike on that topic today?

18          A.      Correct.

19          Q.      Did you do anything other than meet with counsel

20                  yesterday to prepare for that topic?

21          A.      No.

22          Q.      Topic 11, "How, if at all, Nike has participated

23                  and/or currently participates in the secondary

24                  market for physical sneakers."             Are you prepared to

25                  talk about that topic and testify on behalf of Nike

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                                                                         Page 15

1                   today?

2           A.      Yes.

3           Q.      And did you do anything other than meet with

4                   counsel to prepare to testify on behalf of Nike for

5                   that topic?

6           A.      No, I did not.

7           Q.      And to clarify, meet with counsel yesterday, as

8                   we've been saying.

9           A.      Yes.

10          Q.      Okay.    Topic 12, "Any" analysis -- "analyses Nike

11                  has performed, received, or reviewed of the impact

12                  of the secondary market for sneakers on Nike's

13                  current business, including but not limited to (i)

14                  analyses on secondary-market pricing and sales

15                  performance of Allegedly Counterfeited Products and

16                  (ii) whether Nike has benefitted from the sale of

17                  the Allegedly Counterfeited Products in the

18                  secondary market."       Are you prepared to testify on

19                  behalf of Nike as to that topic today?

20          A.      Yes, I am.

21          Q.      And did you do anything other than meet with

22                  counsel yesterday to prepare to testify on behalf

23                  of Nike on that topic?

24          A.      No, I did not.

25          Q.      13, "Nike's plans to enter the secondary market for

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1                   your personal knowledge.           You understand that your

2                   individual deposition is what you have personal

3                   knowledge of.     Correct?

4           A.      Correct.

5           Q.      Okay.    And these eleven 30(b)(6) topics.              We'll see

6                   how efficient we can be to see if we can get done

7                   by 6 o'clock.

8           A.      Great.

9           Q.      Okay.    Did you look at documents in preparing for

10                  your deposition yesterday?

11          A.      Yes.

12          Q.      And did you take any notes when you were preparing

13                  for your deposition yesterday?

14          A.      No, I did not.

15          Q.      What's your current role at Nike?

16          A.      I'm the GM of -- VP and GM of Nike Virtual Studios.

17          Q.      So the vice president and general manager of Nike

18                  Virtual Studios?

19          A.      That's corrected.

20          Q.      And what is Nike Virtual Studios?

21          A.      It's a new division created for the company to

22                  focus on efforts in the Web3 metaverse and

23                  blockchain space.

24          Q.      When you say "Web3 metaverse," what exactly are you

25                  referring to?     I've heard a lot of different

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1           A.      I have no idea if that's the correct data point.                I

2                   know it was just written on a slide.             I'm not sure

3                   if it's accurate.

4           Q.      Okay.   Do you have any understanding of what role

5                   Nike sneakers play in the secondary market?

6                       MS. DUVDEVANI:      Objection.

7                       THE WITNESS:     When you say "what role," what do

8                   you mean by that?

9           Q.      BY MS. BANNIGAN:     How popular they are in the

10                  secondary market.

11          A.      I do believe that Nike product is popular on the

12                  secondary market.

13          Q.      Do you believe it's the most popular brand of

14                  sneakers on the secondary market?

15          A.      I don't know that for sure, but it wouldn't

16                  surprise me if it was the most popular brand in the

17                  secondary market.

18          Q.      And do you have any understanding of why it's such

19                  a popular brand on the secondary market?

20          A.




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1           A.




15                      MS. DUVDEVANI:     Objection.

16          Q.      BY MS. BANNIGAN:     I'm trying to understand what

17                  your testimony is.

18                      MS. DUVDEVANI:     Objection.

19                      THE WITNESS:




22          Q.      BY MS. BANNIGAN:




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                                                                      Page 180

1           A.




4           Q.      What are the other ones?

5           A.




8           Q.      When you were head of the SNKRS app, did you ever

9                   discuss



11          A.      When I was heading the SNKRS app,




15          Q.      And did you have any insight or understanding as to

16                  why those decisions were made?

17          A.      No.




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1           Q.      Got it.   Did you have any involvement other than

2                   being somebody who was interviewed to give

3                   information?

4           A.      I -- we gave -- as the team at Valiant Labs, I

5                   think it was Brittany in conjunction with the folks

6                   at Valiant Labs.      I'm pretty sure.            We gave one of

7                   our product managers from our team on a stretch

8                   assignment to go and work with that team to figure

9                   out what would be opportunities that we would look

10                  at to explore opportunities.

11          Q.




14                      MS. DUVDEVANI:       Objection.

15          Q.      BY MS. BANNIGAN:




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1           Q.      And when I say "plans," are we talking concrete

2                   plans or are there potential plans to build it in

3                   the future?

4           A.




22          A.




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1

2           Q.      Okay.   Do you know who the target consumers for

3                   these -- each of these products are?

4           A.      Yes.

5           Q.      Who are they?

6           A.      The target -- our target market for these, when

7                   they're -- typically most of those shoes, if not

8                   all of them, are sold in SNKRS, and so they're --

9




12          Q.      For each of them?

13          A.      Yes.

14          Q.      And so who are at actual consumers for these

15                  products?

16          A.      Well, oftentimes that -- those shoes will sell out

17                  quickest, so they are very much -- our consumers

18                  will be like -- the general mass, those --




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1                   probably more significant.

2           Q.      BY MS. BANNIGAN:      And when you say your competitor

3                   in the primary market,




18          Q.      Has it ever?

19          A.      To my knowledge, no.

20                             (Exhibit 21 marked)

21                      MS. BANNIGAN:      Exhibit 21 was just handed to

22                  the witness.    It's a document, an email with the

23                  Bates stamp NIKE0029559.          At the top, it's an email

24                  chain to Daniel Heaf from Ron Faris on

25                  October 25th, 2021.

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